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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION

IN RE:                                          CASE NO.: 18-15891-LMI
MAURICE SYMONETTE                               CHAPTER: 7

      Debtor
________________________/

  NOTICE OF FILING OF COURT ORDER FROM MACK WELLS BANKRUPTCY
  CASE IN SUPPORT OF SUPPLEMENTAL MOTION FOR ANNULMENT OF THE
                      AUTOMATIC STAY [DE #51]

       COMES NOW, HSBC Bank USA, National Association as Trustee for Nomura
Home Equity Loan, Inc., AssetBacked Certificates, Series 2007-1 (“Creditor”), and gives
Notice of Filing of Court Order from Mack Wells Bankruptcy Case in Support of Supplemental
Motion for Annulment of the Automatic Stay [DE #51].




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                                                   By: /s/ Jeffrey Fraser
                                                   Jeffrey Fraser
                                                   Florida Bar No.: 85894




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                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
electronic mail and/or by regular U.S. mail to the parties on the attached service list on this, July
23, 2018.

Maurice Symonette
14100 NW 14 AVE
Miami, FL 33167

Joel L. Tabas
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Office of the US Trustee
51 S.W. 1st Ave.
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                                                        Facsimile: (813) 221-9171

                                                        By: /s/ Jeffrey Fraser
                                                        Jeffrey Fraser
                                                        Florida Bar No.: 85894




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